        Case 6:24-cr-10013-JWB           Document 25         Filed 08/02/24      Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
                                    )
            v.                      )                  Case No. 24-10013-JWB
                                    )
SHAN HANES,                         )
                                    )
                  Defendant.        )
____________________________________)

                      UNITED STATES’ MOTION FOR AN AMENDED
                        PRELIMINARY ORDER OF FORFEITURE

       Comes now the plaintiff, United States of America, by and through Kate E. Brubacher,

United States Attorney for the District of Kansas, and Annette Gurney, Assistant United States

Attorney and respectfully moves the Court to amend the Preliminary Order of Forfeiture entered

herein on June 28, 2024. (Doc. 20)

       In support of this motion, the United States shows the Court the following:

       1.      On June 28, 2024, a Preliminary Order of Forfeiture was entered which forfeited,

subject to third-party claims, the following property: Contents of, and funds traceable to the

blockchain virtual currency address *e7dB5, held by or under the care or custody of Tether.

(Doc. 20).

       2.      The United States has obtained a more detailed description of the property and

respectfully moves the Court to amend the Preliminary Order of Forfeiture so that the property

can be described without redaction and more fully identify the holder of the property. These

additional details will allow for meaningful notice of the forfeiture to third parties.

        3.     The complete description of the forfeited property is as follows: Contents of, and

funds traceable to the blockchain virtual currency address
       Case 6:24-cr-10013-JWB           Document 25        Filed 08/02/24     Page 2 of 3




0xef2797225aCEF65d583F157bbAf023C290D0e7dB, held by or under the care or custody of

Tether Limited.

       4.      The requested correction to the Preliminary Order of Forfeiture does not change

or modify the defendant=s sentence and simply allows the forfeiture order to more accurately

identify the subject property and the holder of the property.

       5.      Accordingly, the United States submits that paragraph 1 of the Preliminary Order

of Forfeiture entered herein on June 28, 2024 (Doc. 20), should be amended to read as follows:

               1.      The Court finds that the defendant has consented to the forfeiture of the

       following property to the United States:

                    A. Contents of, and funds traceable to the blockchain virtual currency address
                       0xef2797225aCEF65d583F157bbAf023C290D0e7dB, held by or under
                       the care or custody of Tether Limited.

       WHEREFORE, for the foregoing reasons, the United States respectfully requests that the

Court enter an Amended Preliminary Order of Forfeiture.

                                              Respectfully submitted,

                                              KATE E. BRUBACHER
                                              United States Attorney
                                              District of Kansas

                                              _/s/ Annette Gurney__________
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                                                  2
       Case 6:24-cr-10013-JWB          Document 25        Filed 08/02/24     Page 3 of 3




                                   CERTIFICATE OF SERVICE

       I hereby certify that on August 2, 2024, the foregoing was electronically filed with the

Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to

counsel of record for defendant.

                                             _/s/ Annette Gurney________________
                                             ANNETTE GURNEY
                                             Assistant United States Attorney




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